                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )    No. 2:15-CR-096
                                                   )
KATHY DENISE JONES                                 )

                            MEMORANDUM AND ORDER

        The defendant pled guilty to two counts of the superseding indictment and will be

sentenced on August 11, 2016. The United States Probation Office has prepared and

disclosed a Presentence Investigation Report (“PSR”) [doc. 95], to which the defendant

filed three objections. The third of these objections is biographical in nature and has been

incorporated into the PSR by an addendum [doc. 125]. The remaining objections will

now be overruled.

                                              I.

                                       Objection One

        The defendant pled guilty to a controlled substance offense (Count Four) and an

obstructive offense (Count 19). Paragraphs 27 and 32 of her PSR correctly explain both

how a defendant’s offense level is calculated in such cases generally and how the offense

level was calculated in this specific case.

        It is undisputed that the present PSR’s offense level calculation is correct.

Nonetheless, by her first objection, the defendant argues that paragraph 32 of her PSR

should be rewritten to say what is already said in paragraph 27 of that same document.




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Otherwise, according to the defendant, her Bureau of Prisons (“BOP”) security

classification may be impacted in some unexplained way. This objection is not well-

taken.

         Within its discretion, the BOP will determine the instant defendant’s security

classification. It will do so based on her history, characteristics, and offense conduct, and

not on the basis of guideline mechanics correctly recited in paragraphs 27 and 32 of her

PSR. The defendant’s first objection will be overruled.

                                             II.

                                       Objection Two

         The defendant also argues that she is entitled to application of the safety valve.

See 18 U.S.C. § 3553(f); U.S. Sentencing Guidelines Manual §§ 5C1.2, 2D1.1(b)(17)

(2015). Certain defendants are eligible for a two-level reduction in their offense level if

five criteria are met. See id. At issue in this case is the second of these requirements, that

“the defendant did not use violence or credible threats of violence or possess a firearm or

other dangerous weapon (or induce another participant to do so) in connection with the

offense.” See 18 U.S.C. § 3553(f)(2); U.S. Sentencing Guidelines Manual § 5C1.2(a)(2).

The court must consider the defendant’s “own conduct and conduct that [she] aided or

abetted, counseled, commanded, induced, procured, or willfully caused.”                  U.S.

Sentencing Guidelines Manual § 5C1.2 cmt. n.4.

         Initially, it is again noted that the defendant pled guilty to Count 19 of the

superseding indictment, a conspiracy count which charges a violation of 18 U.S.C. §

1513(b)(2). That statute prohibits “knowingly engag[ing] in any conduct and thereby

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caus[ing] bodily injury to another person or damag[ing] the tangible property of another

person, or threaten[ing] to do so, with intent to retaliate against any person for any

information relating to the commission or possible commission of a Federal offense . . .

given by a person to a law enforcement officer.” 18 U.S.C. § 1513(b)(2). Stated

differently, the present defendant pled guilty to conspiring to engage in, or threaten to

engage in, violent retaliatory conduct related to this case. On the basis of that plea alone,

she does not satisfy § 3553(f)(2) and her second objection will be denied.

        The defendant’s plea agreement further defeats her objection.          This case is

primarily a controlled substance prosecution and the lead named defendant is Gregory

Moore (“Moore”). In a recorded jail call, Moore told his codefendant wife Pamela

Moore that that a person referred to herein as “IV” was “the snitch.” [Plea Agreement,

doc. 74, ¶ 4(b)]. In a subsequent call, Moore instructed his wife (again referring to IV) to

have codefendant Donnie Wallen “beat that n*****’s brains out,” “beat the brakes off

that mother f***er,” and “beat the f*** out of that black n*****.” Id. ¶ 4(c).

        Pamela Moore then met with the defendant, Wallen, and codefendant David Davis

to “explain[] what Gregory Moore wanted done to the IV [sic] and why.” Id. ¶ 4(d).

“Wallen agreed to take care of the job for Gregory Moore.” Id. Four days later, in

another recorded jail call, Moore asked the defendant to have Wallen collect a drug debt

from IV “and if he [IV] don’t [pay the debt], beat the brakes off his f***ing ass.” Id. ¶

4(f).

        Soon thereafter, the defendant again met with Pamela Moore. Id. ¶ 4(g). On

behalf of her husband, Pamela Moore asked whether Wallen “had taken care of IV yet.”

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Id. The defendant responded that Wallen “was not going to take care of” IV unless IV

did not repay his drug debt. Id. The defendant and Pamela Moore then continued their

discussion regarding “beating his [IV’s] ass.” Id.

       The defendant said that Gregory Moore had wanted Wallen to do it “and
       then Greg came back and said, you know Donnie, that IV owes me
       $1,000.00 and you need to get the money or break his knee caps.” The
       defendant told Pamela Moore that David Davis had talked to Gregory
       Moore on jail phones multiple times and that he told her that IV was not the
       only person who snitched on Gregory Moore. The defendant said that
       Donnie did not want to “beat the hell out of somebody if it ain’t them that
       gave him up, so he don’t know what to do.” The defendant told Pam, “if
       this is not the man or if there is any doubt that this is not the man you
       needed . . . because Donnie prepared to go ahead and beat the hell out of the
       guy, you know leave him for dead, and if its [sic] not him that set you up,
       we need to know.” Pamela Moore said, “But that’s what Greg told me. . . .
       he wasn’t hesitant about it.” The defendant said, “He will take care of it if
       we know for sure that’s the person that did it. I mean . . . if there’s any
       doubt, I wouldn’t want to beat the hell out of somebody and it not be the
       right one.”

Id. When arrested six weeks later, the defendant “admitted that Gregory Moore told her

that IV was the one that set him up and that she relayed this information to co-defendant

David Davis. The defendant further admitted that she also told co-defendant Wallen that

IV was the one that set up or snitched on Gregory Moore.” Id. ¶ 4(i).

       Faced with these admitted facts, the defendant nonetheless now deems herself a

peacemaker who “had little to do with any kind of threat of violence to anyone.” The

court disagrees, although it does appear that the defendant and Wallen acted with at least

some measure of restraint as compared to Gregory Moore. Even so, the defendant

admittedly relayed to two of her codefendant’s Moore’s conclusion that IV was “the

snitch.” She was aware, after meeting with Pamela Moore, that Gregory Moore wanted


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IV’s “brains beat out” for being “a snitch.” She was also aware that Gregory Moore

wanted IV’s “brakes beaten off” if a drug debt was not repaid.       The defendant clearly

stayed in communication with Wallen because she was aware that he intended to “take

care of” IV (i.e., “beat the hell out of him and leave him for dead”) if the debt went

unpaid or if the group confirmed that IV was “the snitch.” That decision ultimately

would not be made by Wallen alone, as evidenced by the defendant’s statement that “we”

need to know whether IV is “the snitch” before Wallen “beats the hell out of him and

leaves him for dead.” One does not use the word “we” unless one is part of that “we.”

       The defendant has pled guilty to conspiring to cause (or at least threaten to cause)

bodily injury to IV in retaliation for “snitching” on this drug distribution conspiracy. The

factual basis of her plea agreement further shows that, at a minimum, she aided, abetted,

and counseled a threat of violence against IV in connection with this case. The court

finds that threat to have been credible because Gregory Moore’s codefendants obviously

considered it credible themselves. As such, the defendant cannot benefit from the safety

valve. See 18 U.S.C. § 3553(f)(2); U.S. Sentencing Guidelines Manual § 5C1.2(a)(2).




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                                           III.

                                      Conclusion

      For the reasons provided herein, the defendant’s first and second objections to her

PSR are OVERRULED and her third objection is OVERRULED AS MOOT.

Sentencing remains set for August 11, 2016, at 10:15 a.m. in Greeneville.

             IT IS SO ORDERED.

                                                      ENTER:



                                                              s/ Leon Jordan
                                                        United States District Judge




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